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     Attorneys for Plaintiff
7    John Aulbach
8

9                              IN THE UNITED STATES DISTRICT COURT
10          NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
11
     JOHN AULBACH,                                     Case No.: 3:16-CV-05717-RS
12
                                                       STIPULATION TO DISMISS DEFENDANT
13                             Plaintiff,              CREDIT ONE BANK, N.A.; PROPOSED
                                                       ORDER
14          v.
15

16    EQUIFAX, INC.; et. al.,

17

18

19
                               Defendants.
20

21

22

23
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
24
            IT IS HEREBY STIPULATED by and between plaintiff John Aulbach and defendant
25
     Credit One Bank, N.A., that Credit One Bank, N.A. be dismissed from this action with prejudice
26
     pursuant to Federal Rules of Civil Procedure, section 41(a)(2), and that each party shall bear its
27
     own attorneys’ fees and costs.
28




           STIPULATION TO DISMISS DEFENDANT CREDIT ONE BANK, N.A.; PROPOSED ORDER - 1
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1

2
     DATED: March 22, 2018                      Sagaria Law, P.C.

3                                               By:          /s/ Elliot W. Gale
                                                                      Elliot W. Gale
4
                                                Attorneys for Plaintiff
5                                               John Aulbach
6
     DATED: March 22, 2018                      Carlson Messer LLP
7

8

9                                               By:          /s/ Tamar Gabriel Ellyin
10                                                                Tamar Gabriel Ellyin
                                                Attorneys for Defendant
11
                                                Credit One Bank, N.A.
12

13

14
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
15
     Stipulation. I hereby attest that Tamar Gabriel Ellyin has concurred in this filing.
16
     /s/ Elliot Gale
17

18

19                                            [PROPOSED] ORDER

20
            Pursuant to the stipulation of the Parties, Defendant Credit One Bank, N.A. is dismissed
21
     with prejudice and that each party shall bear its own attorneys’ fees and costs
22
            IT IS SO ORDERED.
23

24

25
     DATED: 3/22/18
26                                                 RICHARD SEEBORG
27                                                 UNITED STATES DISTRICT JUDGE
28




           STIPULATION TO DISMISS DEFENDANT CREDIT ONE BANK, N.A.; PROPOSED ORDER - 2
